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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Fairly Odd Treasures, LLC                   )
                                            )
v.                                          )      Case No. 1:18-cv- 7719
                                            )
THE PARTNERSHIPS and                        )      Judge: Rebecca R. Pallmeyer
UNINCORPORATED ASSOCIATIONS                 )
IDENTIFIED ON SCHEDULE “A,”                 )      Magistrate: Susan E. Cox
                                            )
                                            )


                             SATISFACTION OF JUDGEMENT

       Plaintiff, in accordance with FRCP 60(b)(5), having reached a post-default settlement

agreement with the Doe Defendants listed below:

 Doe          Store Name        Store ID
 246          fykj              56de9e7a9b64740d1f3fb848



dismisses them from the suit without prejudice.

Dated this 14th Day of July, 2019.          Respectfully submitted,


                                            By:      s/David Gulbransen/
                                                   David Gulbransen
                                                   Attorney of Record
                                                   Counsel for Plaintiff

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